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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                                  EASTERN DIVISION

 CHARLEE LANG; GREGORY LANG on
 behalf of minor daughter J.L.;
                                                          Case No. 3:23-cv-00019-ARS
                   Plaintiffs,
                                                       REPLY MEMORANDUM OF LAW IN
 v.                                                    SUPPORT OF DEFENDANT DANIEL
                                                         STOA’S MOTION TO DISMISS
 OAK GROVE LUTHERAN SCHOOL,                           PLAINTIFFS’ AMENDED COMPLAINT
 through its Board of Regents; DANIEL
 STOA, in his official and individual capacity;
 MICHAEL SLETTE, in his official and
 individual capacity; BRENT WOLF, in his
 official and individual capacity; AMIEE
 ZACHIRSON, in her official and individual
 capacity,

                  Defendants.

                                      INTRODUCTION

       Pending before this Court is a Motion to Dismiss Plaintiffs’ Amended Complaint filed by

the Oak Grove Defendants and Defendant Daniel Stoa. In response to the Motion to Dismiss

Plaintiffs’ Amended Complaint, Plaintiffs served and filed Plaintiffs’ Opposition to Motion to

Dismiss ECF 37 and ECF 39 (Doc. Id. # 41).

       In response, Oak Grove Defendants have served and filed a Reply Memorandum of Law

in Support of its Motion to Dismiss Plaintiffs’ Amended Complaint. The Reply Memorandum of

Oak Grove Defendants adequately addresses the separate claims made against Defendant Daniel

Stoa, and thus, Defendant Daniel Stoa joins in Oak Grove Defendants’ Reply Memorandum.

       Specifically, Oak Grove Defendants contend that dismissal of Plaintiffs’ Amended

Complaint is warranted for failure to state a claim upon which relief may be granted. Defendant




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Stoa agrees and files this Reply Memorandum of Law in Support of his Motion to Dismiss

Plaintiffs’ Amended Complaint.

                                          ARGUMENT

       First, Oak Grove Defendants allege that Plaintiffs’ fail to allege plausible claims under

Title IX of the Education Act Amendments of 1972 (Count One), because Plaintiffs concede their

Title IX claims against the individual Defendants are not viable and should be dismissed. (Doc.

Id. #41, p. 2). Specifically “Plaintiff concedes that claims falling under Title IX Act are against

Defendant Oak Grove only, pursuant to statute.” Id. Thus, it is not necessary to address the Title

IX Claims.

       Second, Defendant Stoa agrees with the position of Oak Grove Defendants that the Court

should not exercise supplemental jurisdiction over Plaintiffs’ state law claims. As correctly noted

by Oak Grove Defendants, Plaintiffs fail to allege a plausible negligence claim as Plaintiffs’

negligence claims are premised upon the legal conclusion that Charlee was sexually harassed by

Defendant Daniel Stoa. The Plaintiffs’ Amended Complaint allege Stoa engaged in the following

conduct directed at Plaintiffs:

       13.    Charlee joined the varsity track team in 8th grade and began to report inappropriate
              behavior by male track coach, Coach Daniel Stoa (“Stoa”), including touching her
              hair and rubbing her back.

       14.    Charlee’s parents advised Charlee to maintain a distance from Stoa and to report any
              further incidents.

       15.    After Stoa had sent Charlee a Snapchat friend request at 3 A.M., Mr. Lang contacted
              Oak Grove’s Athletic Director Brent Wolf to report the incident.

       ***

       17.    During the 2019 track season, Defendant Stoa began attempting to contact Charlee
              via the social media application Snapchat.

       18.    Defendant Stoa began attempting to communicate with Charlee via text messaging.

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        19.    Charlee refused all communications from Defendant Stoa and Plaintiff’s reported
               the incidents to Defendant Wolf.

        20.    Mr. Lang subsequently reported the incidents to Defendant Oak Grove, Defendant
               Slette and Defendant Zachirson [sic].

(Amended Complaint, Doc. Id. #28 at ¶¶13-15, 17-20).

        These allegations are the sum total of all allegations of “fact” regarding Defendant Stoa’s

alleged wrongful conduct involving any Plaintiff. There is no alleged wrongful conduct on the

part of Defendant Stoa in relation to Plaintiff J.L. The pure allegations of fact concerning

Defendant Stoa’s conduct in touching Charlee’s hair and rubbing her back on one occasion is not

inherently sexual nor abusive in nature. Therefore, the allegations of fact as described as

interactions between Defendant Stoa and Charlee do not constitute sexual harassment or

discrimination as a matter of law. Oak Grove Defendants correctly note that the Plaintiffs’

Opposition to Motion to Dismiss alleges new matters not appearing in their Amended Complaint,

alleges matters which contradict the allegations in the Amended Complaint, and fail to include any

citations to their pleadings.

        The Plaintiffs’ Amended Complaint alleges a hodge podge of unrelated events involving

non-parties spanning a period of several years in a shotgun attempt to cobble together a plausible

claim for relief. The Plaintiffs apparently recognize that they have not succeeded in making a

plausible claim for relief, so they are now making further unsubstantiated allegations that do not

even appear in the Amended Complaint in an effort to avoid the Motion to Dismiss Plaintiffs’

Amended Complaint. This futile attempt should be summarily rejected because the Amended

Complaint fails to allege facts to support a plausible claim of sexual discrimination or sexual

harassment against Defendant Stoa or any of the Oak Grove Defendants.




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       As Oak Grove Defendants correctly point out, Plaintiffs fail to allege a plausible negligence

claim, which is premised upon the legal conclusion that Charlee was sexually harassed by

Defendant Stoa. All such claims are premised upon the legal conclusion that Charlee was sexually

harassed by Defendant Stoa. The pure allegations of fact as described as interactions between Stoa

and Charlee do not constitute sexual harassment or discrimination as a matter of law. Plaintiffs

have also failed to allege a plausible claim of intentional infliction of emotional distress and a

plausible claim of negligent infliction of emotional distress for the reasons stated in the Reply

Memorandum of Oak Grove Defendants.

       Therefore, this Court should not exercise supplemental jurisdiction over Plaintiffs’ state

law claims because the Plaintiffs have failed to allege plausible negligence claims or claims based

upon negligent or intentional infliction of emotional distress.

       Finally, Defendant Stoa agrees with Oak Grove Defendants’ argument that Plaintiffs’

alternative request for leave to amend should be denied. Oak Grove Defendants correctly note that

although Plaintiffs embellish upon their allegations in their Memorandum in Opposition to the

Motion to Dismiss, those embellishments are essentially legal conclusions (i.e. allegations of sex

discrimination or sexual harassment) without factual substance which, even if true, would be

insufficient to allege plausible claims.     Second, Plaintiffs already amended their original

Complaint and already had an opportunity to cure the defects in their pleadings at issue, requiring

Defendants to prepare and file Rule 12 Motions to Dismiss twice. The Plaintiffs should not be

given another bite at the apple to raise more unsubstantiated allegations against Defendants,

including Defendant Stoa.




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                                          CONCLUSION

       For the reasons stated above, and in Oak Grove Defendants’ Reply Memorandum, this

Court should dismiss all of Plaintiffs’ claims arising under federal law, and refuse to exercise

supplemental jurisdiction over Plaintiffs’ claims arising under state law. Alternatively, Defendant

Stoa requests all of Plaintiffs’ claims as against all Defendants be dismissed, in their entirety, as a

matter of law.

       Dated this 1st day of August, 2023.

                                                       /s/ William P. Harrie__________________
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                          CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the REPLY MEMORANDUM OF
LAW IN SUPPORT OF DEFENDANT DANIEL STOA’S MOTION TO DISMISS
PLAINTIFFS’ AMENDED COMPLAINT was on the 1st day of August, was filed
electronically with the Clerk of Court through ECF.

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